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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       NORTHERN DIVISION

CHRISTOPHER ROBERT MILLER
#109083                                                        PLAINTIFF

v.                         No. 3:20-cv-248-DPM

KEVIN MOLDER, Sheriff, Poinsett
County; JERMEY, Chief Deputy, Poinsett
County Detention Center; TRISH
MARSHAL, Administrator, Poinsett
County Detention Center; and DOYLE
RAMEY, Supervisor, Poinsett County
Detention Center                                          DEFENDANTS

                                  ORDER
       Miller hasn't responded to the pending recommendation. Doc. 4.
Instead, his mail is being returned undelivered. Doc. 5 & 6. The Court
adopts Magistrate Judge Volpe' s unopposed recommendation, Doc. 4.
FED.   R. CIV. P. 72(b) (1983 addition to advisory committee notes).
Miller's complaint, Doc. 2, will be dismissed without prejudice for
failure to state a claim. This dismissal counts as a "strike" for purposes
of 28 U.S.C. § 1915(g). An in forma pauperis appeal from this Order and
accompanying Judgment would not be taken in good faith. 28 U.S.C. §
1915(a)(3).
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So Ordered.



                            D.P. Marshall Jr.
                            United States District Judge




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